Case 2:25-cv-01963-MEF-MAH          Document 300        Filed 06/12/25     Page 1 of 1 PageID:
                                          3638



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 MAHMOUD KHALIL                                :
                                               :    Civil Action No. 2:25-cv-01963-MEF-
                                                    MAH
 Plaintiff(s)                                  :
                                               :
 v.                                            :     CLERK’S CERTIFICATE OF CASH
                                                               DEPOSIT
                                               :
 DEPUTY DIRECTOR WILLIAM P.                    :
 JOYCE et al.
                                               :
 Defendant(s)                                  :

                                               :


        I hereby certify that on June 12, 2025, One Dollar ($1.00) Receipt No. NEW52146 was

deposited in the Registry of the Court pursuant to the Order signed June 11, 2025 by Judge

Michael E. Farbiarz.




                                                   MELISSA E. RHOADS, CLERK




                                                   By: ________________________________
                                                       Bria Ketchledge, Financial Specialist
